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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,

                 v.
                                                         Civil Action No. 25-cv-10676-BEM
U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



         AUTHENTICATING DECLARATION OF TRINA REALMUTO
   IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
   RESTRAINING ORDER AND PRELIMINARY INJUNCTION ON BEHALF OF
                          PLAINTIFF O.C.G.
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Pursuant to 28 U.S.C. § 1746, I hereby declare:

1.     I am the executive director of the National Immigration Litigation Alliance. I am one of

the counsel for Plaintiffs and class members in the above-captioned case. I submit this

declaration in support of Plaintiffs’ Emergency Motion for a Temporary Restraining Order and

Preliminary Injunction on Behalf of Plaintiff O.C.G.

2.     I have personal knowledge of the facts set forth herein, and, if called as a witness, I could

and would testify completely as set forth below.

3.     Accompanying this declaration as Exhibit A is a true and correct copy of a partially

redacted version of Defendants’ amended responses to Plaintiffs’ written discovery requests.

Defendants’ counsel Mary L. Larakers emailed the amended responses to Plaintiffs’ counsel on

Friday, February 16 at 9:46 PM ET. Defendants designated the document as “CONFIDENTIAL

SUBJECT TO PROTECTIVE ORDER.”

4.     Pursuant to the Protective Order for Expedited Discovery Related to Plaintiff O.C.G., see

Dkt. 96, Plaintiffs’ counsel emailed Defendants’ counsel to request that Defendants lift the

confidentiality designation on the attached document, which redacts the names of the deportation

officers mentioned in the document excluding Brian Ortega and the name of the individual who

verified the responses.

5.     Defendants’ counsel agreed that, with these redactions, the amended discovery responses

could be filed on the public docket unsealed.

       I declare under penalty of perjury that the above information is true and correct to the

best of my knowledge. Executed this 19th day of May 2025 at Brookline, Massachusetts.

                                                By:    s/ Trina Realmuto
                                                       Trina Realmuto




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